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 7                    IN THE UNITED STATES BANKRUPTCY COURT

 8                          FOR THE DISTRICT OF ARIZONA

 9   In Re:                                  )       CHAPTER 7 CASE
                                             ) Case No. 0:13-bk-05023-BMW
10   MARIA T. RICO,                          )
                                             )
11                    Debtor.                )
                                             )
12   JIM D. SMITH, not individually          ) Adv. No. 0:21-ap-00231-BMW
     but as Chapter 7 Bankruptcy             )
13   Trustee,                                )
                                             )
14                    Plaintiff,             )
          vs.                                )
15                                           )    NOTICE OF DISMISSAL
     MARIA T. RICO nka MARIA T.              )
16   LOPEZ; and FIGURE LENDING, LLC,         )
     a limited liability company,            )
17                                           )
                         Defendants.         )
18
          Pursuant to Bankruptcy Rule 7041, Plaintiff hereby dismisses
19
     this adversary proceeding.         It has been brought to the Trustee’s
20
     attention that the post-petition transfer occurred slightly more
21
     than two (2) years before this action was filed. Bankruptcy Code
22
     Section 549(d)(1).
23
          DATED: September 9, 2021
24

25                                                   /s/ Jim D. Smith
                                                     Jim D. Smith
26                                                   Attorney for Trustee


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